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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ME2 PRODUCTIONS, INC.,                                      CIVIL ACTION
              Plaintiff,

              v.

ROSEANNA BERMUDEZ                                           NO. 17-1618
             Defendant.

                                         ORDER

       AND NOW, this 29th day of December, 2017, it is ORDERED that the above captioned

case is DISMISSED without prejudice against Defendant, Roseanna Bermudez for failure to

make service in accordance with Rule 4(m) of the Federal Rules of Civil Procedure.

       The Clerk of Court is directed to CLOSE this case.



                                                   BY THE COURT:

                                                   /s/Wendy Beetlestone, J.


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                                                   WENDY BEETLESTONE, J.
